Case 3:24-cv-04914-AMO   Document 23-15   Filed 10/18/24   Page 1 of 12




        EXHIBIT O
10/4/24, 10:21 AM   Case 3:24-cv-04914-AMO                 Document  23-15
                                                               CustomerAI          Filed
                                                                          Predictions       10/18/24
                                                                                      | Twilio Segment   Page 2 of 12


                                                                                                                        Menu




       CustomerAI Predictions



       Put the power of predictive AI in the
       hands of your marketer
       Easily predict future customer behavior to deliver precise and personalized campaigns without
       needing to tap data science teams.



            Your work email




                                           Get a demo




https://segment.com/solutions/ai/customerai-predictions/                                                                       1/11
10/4/24, 10:21 AM   Case 3:24-cv-04914-AMO                 Document  23-15
                                                               CustomerAI          Filed
                                                                          Predictions       10/18/24
                                                                                      | Twilio Segment   Page 3 of 12




https://segment.com/solutions/ai/customerai-predictions/                                                                2/11
10/4/24, 10:21 AM   Case 3:24-cv-04914-AMO                 Document  23-15
                                                               CustomerAI          Filed
                                                                          Predictions       10/18/24
                                                                                      | Twilio Segment   Page 4 of 12




       Say goodbye to guesswork and hello to precise
       personalization
       CustomerAI Predictions gives marketers the power of predictive AI, making it easy to uncover
       patterns in historical customer data, predict future behavior, and discover audiences primed for
       engagement—saving teams time, boosting campaign performance, and improving personalization.




               Elevate every customer interaction with user-
                           friendly predictive AI
           CustomerAI Predictions gives marketers easy-to-use, out-of-the-box predictive models built on
        trusted, AI-ready data in Segment to quickly create Predictive Traits that get added to the customer
         profile to power more timely, targeted, and precisely personalized customer experiences on every
                                                                   channel.


       Likelihood to Purchase
https://segment.com/solutions/ai/customerai-predictions/                                                                3/11
10/4/24, 10:21 AM   Case 3:24-cv-04914-AMO                 Document  23-15
                                                               CustomerAI          Filed
                                                                          Predictions       10/18/24
                                                                                      | Twilio Segment   Page 5 of 12
       Predict the propensity of customers to make a purchase.



       Likelihood to Churn

       Proactively
       Proacttivelly identify
                     identtify customers
                               custtomers wh
                                          who
                                           ho are llikely
                                                    ikelly tto
                                                             o st
                                                               stop
                                                                top usi
                                                                    using
                                                                      ing your prod
                                                                               product.
                                                                                  ductt.


       Predicted Lifetime Value (LTV)

       Predict a customer's future spend over the next 90 days.


       Custom Predictive Goals

       Predict the propensity of customers to perform any event tracked in Segment (e.g. likelihood to use
        promo
       ap o o code or
                   o refer
                      e e a friend).
                               e d)




        Discover and activate the best audiences for every
                            campaign

https://segment.com/solutions/ai/customerai-predictions/                                                                4/11
10/4/24, 10:21 AM   Case 3:24-cv-04914-AMO                 Document  23-15
                                                               CustomerAI          Filed
                                                                          Predictions       10/18/24
                                                                                      | Twilio Segment   Page 6 of 12
        CustomerAI Predictions includes pre-built Predictive Audiences to inspire new campaign ideas and
                                help you quickly create AI
                                                        AI-powered
                                                           powered audiences in just a few clicks.




       Ready to buy audiences

       Includes customers who are most likely to purchase.


       Long shots audiences


https://segment.com/solutions/ai/customerai-predictions/                                                                5/11
10/4/24, 10:21 AM   Case 3:24-cv-04914-AMO                 Document  23-15
                                                               CustomerAI          Filed
                                                                          Predictions       10/18/24
                                                                                      | Twilio Segment   Page 7 of 12
       Includes customers who have previously interacted with your brand but aren't currently engaged.


       High LTV audiences

       IIncludes
         ncllud
              des customers
                  custtomers wi
                             with
                              ith h
                                  high
                                    igh p
                                        predictive
                                          red
                                            dicttive llifetime
                                                       ifettime val
                                                                value.
                                                                  lue.


       Potential VIPs audiences

       Includes recently active customers with high predictive lifetime value as well as a high likelihood to
       purchase.


       Dormant audiences

       Includes inactive customers who are unlikely to purchase.




                         Boost campaign performance and ROI
            Easily identify, target, and launch campaigns for users who are most likely to convert or take a
                                  desired action across all your customer channels and journeys.




       Improve ad targeting and return on ad spend (ROAS)

       Build lookalike audiences based on customers with a high likelihood to purchase or high LTV. Suppress ads to users

       with low likelihood to purchase or low LTV to conserve ad spend.




       Increase performance of promotional and lifecycle campaigns

       Create more personalized emails, SMS, WhatsApp, and push notifications for customers no matter where they are in

       their journey or which buying groups they are in—like discount vs full-price buyers.




https://segment.com/solutions/ai/customerai-predictions/                                                                    6/11
10/4/24, 10:21 AM   Case 3:24-cv-04914-AMO                 Document  23-15
                                                               CustomerAI          Filed
                                                                          Predictions       10/18/24
                                                                                      | Twilio Segment   Page 8 of 12
       Personalize online experiences

       Update your web and mobile experiences to showcase different products or promotions based on their propensity to

       purchase or engage with your content.




       Boost upsell and cross-sell

       Drive greater upsell and cross-sell opportunities by launching timely campaigns showcasing personalized items

       when customers are most likely to buy.




       Enhance loyalty programs

       Quickly spot customers with high predicted LTV to invite into VIP loyalty programs or send special personalized

       offers.




       Bolster win-back campaigns

       Proactively identify disengaged or at-risk customers for targeted win-back and retention campaigns.




          Trust in our predictions with model transparency
         CustomerAI Predictions provides transparency into every prediction you create, so your marketing
                                      and data teams always feel confident in your predictions.




https://segment.com/solutions/ai/customerai-predictions/                                                                  7/11
10/4/24, 10:21 AM   Case 3:24-cv-04914-AMO                 Document  23-15
                                                               CustomerAI          Filed
                                                                          Predictions       10/18/24
                                                                                      | Twilio Segment   Page 9 of 12




       The Explore view visualizes the prediction data and lets marketers easily cohort that data to create
       aud e ces for
       audiences  o targeted
                     ta geted ca pa g s o
                              campaigns or custo e jou
                                           customer     neys
                                                    journeys.




https://segment.com/solutions/ai/customerai-predictions/                                                                8/11
10/4/24, 10:21 AM Case 3:24-cv-04914-AMO                   Document   23-15
                                                                CustomerAI         Filed
                                                                           Predictions     10/18/24
                                                                                       | Twilio Segment   Page 10 of 12
       The Understanding view offers insights into all the underlying data points and how they contribute
       to the model.




                 “CustomerAI Predictions has equipped Box’s marketing team with
                 the ability to forecast customer behavior to a degree that was
                 simply unavailable to us before. We’ve been able to explore
                 segmenting our audience based on predictive traits like who is
                 most likely to join us at in-person events or who is more likely to
                 purchase, and this allows us to meet those people where they are
                 in their customer journey.”


                 Chris Koehler
                 CMO at Box




                                                            Resources

              Webinar


              No Code Required: CustomerAI Predictions in Action.
              Learn how trusted customer data unlocks the promise of AI to drive adaptive engagement
              across your entire business—helping you anticipate and act on future customer wants and
              needs and create more relevant customer experiences in minutes.




              View the webinar




https://segment.com/solutions/ai/customerai-predictions/                                                                  9/11
10/4/24, 10:21 AM Case 3:24-cv-04914-AMO                   Document   23-15
                                                                CustomerAI         Filed
                                                                           Predictions     10/18/24
                                                                                       | Twilio Segment   Page 11 of 12
              Recipe


              Use Twilio Segment to Anticipate a Customer's Readiness to
              Buy
                y
              In the competitive landscape of the FinTech
                                                  FinTe
                                                     T ch industry, understanding customer behavior
              and predicting their readiness to purchase additional products can significantly impact
              business success.




              Use this recipe




              Segment University


              Use Predictions to Predict Customer Behavior
              Unlock insights into customer behavior, fine-tune marketing efforts, and maximize revenue
              opportunities with Predictions.




              View this course




                                               Getting started is easy
                                                 Start connecting your data with Segment.



                                                                  Get a demo



                                                           Create a free account




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10/4/24, 10:21 AM Case 3:24-cv-04914-AMO                   Document   23-15
                                                                CustomerAI         Filed
                                                                           Predictions     10/18/24
                                                                                       | Twilio Segment   Page 12 of 12




https://segment.com/solutions/ai/customerai-predictions/                                                                  11/11
